                          Case 1:22-mj-08194-PGL
2-6   5HYLVHG86'&0$              Document 1-2 Filed 12/02/22 Page 1 of 2
Criminal Case Cover Sheet                                                               U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.          II                      Investigating Agency                  FBI

City      Fall River                                 Related Case Information:

County       Bristol                                  6XSHUVHGLQJ,QG,QI                           &DVH1R
                                                      6DPH'HIHQGDQW                              1HZ'HIHQGDQW
                                                      0DJLVWUDWH-XGJH&DVH1XPEHU              22-mj-8194-PGL
                                                      6HDUFK:DUUDQW&DVH1XPEHU              22-mj-2192-MBB
                                                      55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH          Ryan Pavao                                               -XYHQLOH                       G <HV G
                                                                                                                        ✔ 1R

                                                                                                                    ✔
                        ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDUG<HVG1R
$OLDV1DPH              a/k/a "Styx," a/k/a "Jimmy"

$GGUHVV                  &LW\ 6WDWH
                      2003
%LUWKGDWH <URQO\ BBBBB661          4347
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB               5DFHBBBBBBBBBBB             1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                                                              $GGUHVV

Bar Number

U.S. Attorney Information:

AUSA         Lucy Sun                                                   %DU1XPEHULIDSSOLFDEOH

Interpreter:             G <HV       ✔ 1R
                                     G                       /LVWODQJXDJHDQGRUGLDOHFW

Victims:                 G<HVG1R
                               ✔     ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                         G <HV    1R

Matter to be SEALED:                 ✔
                                     G <HV                1R

           ✔
          G:DUUDQW5HTXHVWHG                        G5HJXODU3URFHVV                        G,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                       LQ                                            
G $OUHDG\LQ6WDWH&XVWRG\DW                                        G6HUYLQJ6HQWHQFH             G$ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH         2UGHUHGE\                                             RQ

Charging Document:                   ✔
                                     G&RPSODLQW                 G,QIRUPDWLRQ                      G,QGLFWPHQW
                                                                                                                               1
Total # of Counts:                   G3HWW\                    G0LVGHPHDQRU                      ✔
                                                                                                          G)HORQ\

                                          &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.
                                                                                                  Digitally signed by LUCY


'DWH     12/01/2022                       6LJQDWXUHRI$86$          LUCY SUN             SUN
                                                                                                  Date: 2022.12.01
                                                                                                  14:29:05 -05'00'
                         Case 1:22-mj-08194-PGL Document 1-2 Filed 12/02/22 Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 Ryan Pavao

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged       Count Numbers
                                                        Distribution of fentanyl
6HW     21 USC § 841(a)(1)                                                                            1


6HW


6HW


6HW


6HW


6HW


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6HW


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6HW


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6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
